         Case 2:24-mj-00211 Document 10 Filed 12/18/24 Page 1 of 2 PageID# 17

                                                                                                   FILED
                                                                                              IN opln coiiqr

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                                             DEC 1 8 2024
                                            Norfolk Division

                                                                                       CLERK, U.S. DISTRIC T COURT
                                                                                              NORFOLK. VA

UNITED STATES OF AMERICA


V.                                                                      Criminal No. 2:24mj211

BRAD KENNETH SPAFFORD,

                         Defendant.




                                         ORDER

         This matter comes before the Court on its own initiative.   In accord with the Due Process


Protections Act and Rule 5(f) of the Federal Rules of Criminal Procedure, this Court CONFIRMS

the United States’ obligation to disclose to the defendant all exculpatory evidence, that is, evidence

that favors the defendant or casts doubt on the United       Slates’ case, as required by Brady v.

Maryland, 373 U.S. 83 (1963) and its progeny, and hereby ORDERS the United States to do so.

Failure to disclose exculpatoiy evidence in a timely manner may result in serious consequences,

including, but not limited to, exclusion of evidence, adverse jury instructions, dismissal of charges,

contempt proceedings, disciplinary action, or sanctions by the Court.

         The judge presiding over the first scheduled court date when both prosecutor and defense

counsel are present shall give oral notice of the provisions in this Order. The presiding judge,

pursuant to the Due Process Protections Act, shall also enter a written order in compliance with this

Order.


         Having given counsel the oral admonition required by the Due Process Protections Act,

this Order serves as the reminder of prosecutorial obligation and duties in accordance with Rule

5(f) and the Eastern District of Virginia Standing Order concerning the same.
      Case 2:24-mj-00211 Document 10 Filed 12/18/24 Page 2 of 2 PageID# 18




       It is SO ORDERED.




                                                United States Magistrate Judge


Norfolk, Virginia




                                       2
